      Case 3:19-cv-00114-BAJ-RLB        Document 32     10/10/19 Page 1 of 18
                                                                 U.S. DTSTRICT COURT
                                                                'MIDDLE DISTRICT OF LOUISIANA

                                                                 FILED OCT 10 2019

                                                                           CLERK
               UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF LOUISIANA




                                                              Case Number:
 ESROM DEMEKE,                                                19-114-BAJ-RLB


       Plaintiff,                                             Judge
                                                              Brian A. Jackson

          V.
                                                              Mag. Judge
                                                              Richard L. Bourgeois, JR.
 BOARD OF SUPERVISORS OF LOUISIANA
 STATE UNIVERSITY, andA&M COLLEGE, ET                         Evidentiary Hearing Requested
AL.


       Defendants.




 MEMORANDUM IN SUPPORT OF PLAINTIFF'S MOTION FOR
 PRELIMINARY INJUNCTION AND EXPEDITED DISCOVERY


      Plaintiff respectfully submits this memorandum of law in support of his motion

for a preliminary injunction pursuant to Rule 65 of the Federal Rules of Civil


Procedure and for expedited discovery in support of Plaintiffs motion for preliminary


relief. Plaintiff relies upon his Complaint (Doc 1), First Amended Complaint (Doc 26),

and the attached Declaration and Exhibits in support of this Motion.

      The purpose of this motion is to ask this Honorable Court to begin to address


and remedy the most glaring and urgent violation that is currently causing



                                         Page 1 of 18
      Case 3:19-cv-00114-BAJ-RLB             Document 32      10/10/19 Page 2 of 18




irreparable harm to Plaintiff- the infringement of Plaintiffs constitutional right1 by

an entity of the State of Louisiana.


         Plaintiff further seeks an Order directing the parties to begin expedited

discovery in connection with Plaintiffs motion for preliminary relief, leading up to an


evidentiary hearing at which time Plaintiffs will present relevant testimony and

documents supporting such relief.


                             PRELIMINARY STATEMENT

         The Defendants'2 (hereinafter "LSU" or Defendants ) pervasive violations of


Plaintiffs and other qualified minority disabled students 3 constitutional right and

federal statues - the Equal Protection Clause of the Fourteenth Amendment, Section


504 of the Rehabilitation Act of 1973 ("Section 504"), 29 U.S.C. § 794, and Title II of

the Americans with Disabilities Act ("Title II"), 42 U.S.C. § 12101, et seq. - have


denied Plaintiff and others access to a public education because of their disabilities.

         Defendants have denied Plaintiff benefits and services provided to non-


minority LSU students with similar conditions and circumstances because of




         1 U.S. CONST. amend. XIV, § 1 ("No State shall . . . deny to any person within its
jurisdiction the equal protection of the laws ).
         2 Board of Supervisors of Louisiana State University and A&M College, and the above-
named LSU employees in their official and individual capacities. Exception is Stacia Haynie
who is sued only in her official capacity as the Vice President and Provost of LSU-Baton
Rouge.
       3 On May 20, 2019, Pursuant to the Louisiana Public Records Act § 44:1 et seq.,
Plaintiff submitted a request to President F. King Alexander (custodian of LSU s record as
defined in R.S. 44:1(A)(3)) asking records related to students that received free medical
evaluations for the purpose of validating students' requests for accommodations, however,
LSU denied Plaintiffs request. The Plaintiff is informed and believes, and upon such
information and belief, alleges that minority qualified, students and international students
have no access for free medical evaluations.



                                               Page 2 of 18
     Case 3:19-cv-00114-BAJ-RLB               Document 32      10/10/19 Page 3 of 18




Plaintiffs national origin and race, subjecting Plaintiff to irreparable harm. In his

Complaint (Doc. 1), and First Amended Complaint (Doc. 26), Plaintiff contends that

LSU's conduct violates the Equal Protection Clause of the Fourteenth Amendment


(Doc. 1, para 64 and Doc. 26, para 64).


      Plaintiff and other qualified disabled minority students at LSU are currently

being irreparably harmed because ofLSLTs abdication of its responsibilities to ensure


that LSLPs Office of Disability Services ("ODS") complies with the Equal Protection

Clause of the Fourteenth Amendment, Section-504, and Title II.


       If this Honorable Court grants Plaintiffs request for an evidentiary hearing,


he will demonstrate that LSU, a State of Louisiana entity, violated the Equal

Protection Clause of the Fourteenth Amendment by selectively providing funding for


some LSU students in order to pay for expenses related to their medical evaluations,


which is provided by LSU's on-campus Psychological Services Center ("PSC"). These


evaluations are required by LSU in order to "obtain, at the university s expense,


independent medical opinion concerning the disability for which the student seeks an


academic accommodation/auxiliary aid, including additional suggestions or


recommendations regarding reasonable academic accommodations/auxiliary aids and


services. 4


      Defendants willfully ignored Plaintiffs pleas for similar benefit as provided to

several other non-minority LSU students situated in similar conditions and




      4 https://www.lsu.edu/policies/ps/ps 2G.pdf.



                                                Page 3 of 18
      Case 3:19-cv-00114-BAJ-RLB               Document 32        10/10/19 Page 4 of 18




circumstances. Instead of providing the appropriate accommodations5 as required by


Section 504 and Title II, Defendants refused6 Plaintiffs reasonable accommodations


request and suggested to Plaintiff that he should consider withdrawing from LSU.

Although Plaintiffs doctor's office directly faxed medical documents to ODS stating

that Plaintiff is being treated for anxiety and major depressive disorder. Defendants


refused Plaintiffs reasonable accommodation request. (Exhibit A - Page 1 to 7).


        In general. Defendants are failing to meet their constitutional and statutory


obligations, causing Plaintiff and other qualified disabled minority students

immediate and irreparable harm. Plaintiff, a student with documented disabilities,


has experienced significant difficulty in benefiting from reasonable accommodations


and services provided by LSU as required by Section 504 and Title II. As a result, he


suspended7 his enrollment at LSU during the spring 2019 semester in order to bring

this action against Defendants.


        The Defendants are responsible for ensuring that LSU complies with


constitutional and federal laws and qualified minority students with disabilities are

not excluded. Currently, Plaintiff and- other qualified- minority students with


disabilities are being systematically excluded from services provided by LSU, a public

entity. The procedures implemented by Defendants in order to verify eligibility for




        s Plaintiffs request for reasonable accommodations and modifications of policy includes 1)
extra time for projects, 2) double time for exams, and 3) modification of attendance policy. These are
reasonable requests at public colleges and universities.

       7PlainfciffconsecutivelyenrolledatLSU starting summer 2016, fall 2016, spring 2017, summer
2017, fall 2017, spring 2018, summer 2018, and fall 2018

                                                 Page 4 of 18
     Case 3:19-cv-00114-BAJ-RLB         Document 32         10/10/19 Page 5 of 18




accommodation requests violates the Equal Protection Clause, Section 504, and Title


II for the following reasons:


l. LSU requires the Plaintiff and other qualified minority disabled students to go

through an expensive medical evaluation usually not covered by health insurances,


and even if covered by a health insurance, the deductible is too high to afford,


however,


2. LSU offers all-expense paid on-campus medical evaluations for selected


qualified disabled students and for newly admitted students (please see Exhibit B -

Pages 3 to 11, an investigation report by U.S. Department of Education, Office for


Civil Rights or "OCR").

3. LSU rejects medical evaluations from a Primary Care Doctor ("PCD"). Plaintiff


was able to easily afford a medical evaluation from his PCD on one of his scheduled


office visits because his health insurance covers the fees and the deductible is


reasonable. Plaintiff was able to have his doctor's office directly fax the


documentation to LSU, however, LSU rejected the documentation by stating this is


not enough", (see Exhibit - A, all pages).


4. LStTs documentation requirement procedure violates 35 C.F.R. § 130 (4)(i), (8),

and (d), which states that

      i. A public entity may not, directly or through contractual or
             other arrangements, utilize criteria or methods of
             administration [t]hat have the effect of subjecting qualified
             individuals with disabihties to discrimination on the basis of
             disability;

      ii. A public entity shall not impose or apply eligibility criteria that
             screen out or tend to screen out an individual with a disability


                                             Page 5 of 18
       Case 3:19-cv-00114-BAJ-RLB               Document 32         10/10/19 Page 6 of 18




                or any class of individuals with disabilities from fully and
                equally enjoying any service, program, or activity, unless such
                criteria can be shown to be necessary for the provision of the
                 service, program, or activity being offered; and



 5. LSU documentation requirement procedure for Plaintiff and other qualified


 minority disabled students is burdensome because these students are usually from


 low-income families, with no access to private health insurance, and international


 students.


 6. "A university is prevented from employing unnecessarily burdensome proof-of-


 disability criteria that preclude or unnecessarily discourage individuals with

 disabilities from establishing that they are entitled to reasonable accommodation.


 Guckenberger v. Boston University, 974 F Supp 106, 135-136 (D. Mass. 1997).


7. LSU makes decisions regarding all accommodation requests based on the


 medical evaluation and recommendations from the evaluator. For this reason,


 Plaintiff and others are excluded and only receive the generic preset8 minimum


 accommodations that is not considered individually based on how the student is


 impacted by the disability and the severity of the disability. For reference purposes,

        Some immediate remedial steps, such as requiring Defendants to 1) provide,


 at LSU's expense, independent medical evaluation for Plaintiff and other qualified


 disabled students when LSU believes additional medical evaluation is necessary to




    8[e]ach situation musfc be considered individually to understand if and how the student is impacted
 by the described condition. Disability is defined by the ADA as a physical or mental impairment that
 substantially limits one or more of the major life activities, a record of such an impairment or being-
 regarded as having such an impairment." There is no listing of covered impairments. Therefore, the
 salient question is not whether a given condition is a disability, but how the condition impacts the
 student, http s://www. ahead, or e/professional-resources/accommodations/documentation,


                                                  Page 6 of 18
      Case 3:19-cv-00114-BAJ-RLB             Document 32        10/10/19 Page 7 of 18




verify accommodation requests by qualified disabled students, 2) when LSU denies

medical evaluation reports presented by students for accommodation request


purposes, LSU must ensure that these students are aware of the fact that LSU


provides an on-campus free medical evaluations, 3) ensure that Plaintiff and all


qualified disabled students who were denied accommodations because of


documentation issues are properly notified about the medical evaluation services that


can be provided to them at LSlTs expense, 4) ensure that Plaintiff and all qualified

disabled students who were denied accommodations because of documentation issues are


properly identified and reimbursed for tuition and fees paid to LSU, and their academic

records are corrected.


       Remedying these violations comports with the public interest. In the last two


decades, the number of students with disabilities on college campuses has doubled9.


Students with disabilities face similar problems to those experienced by other

students, except their problems are often compounded by unique factors that cause


additional stress, such as lack of access to accommodations and/ or modifications that allow

them to have equal access and participate on equal footing with students without disabilities;

prejudice and discrimination; and the daily challenges of a disability10.




        9 Hadley, W. M. "CoUege Students with Disabilities: A Student Development Perspective. New
Directions for Higher Education 154 (20ii): 77-81.
       10 National Council on Disability (July 21, 2017) - https://ncd.£ov/pub]ications/20l7/mental-
health-college-campuses.



                                                Page 7 of 18
     Case 3:19-cv-00114-BAJ-RLB          Document 32       10/10/19 Page 8 of 18




                                    ARGUMENT

                    Plaintiff should be Granted Preliminary Relief

      Preliminary injunctive relief is appropriate where the movant demonstrates:


(i) a substantial likelihood of prevailing on the merits, (ii) a substantial threat of

irreparable injury if the injunction is not granted, (iii) that the threatened injury

outweighs the threatened harm to the nonmoving party, and (iv) that the injunction


will not disserve the public interest. Lake Charles Diesel, Inc. v. Gen. Motors Corp.,


328 F.3d 192, 195-96 (5th Cir. 2003) (citation omitted).

      Although "the purpose of a preliminary injunction is to preserve the status


quo," the Court of Appeals for the Fifth Circuit has explained that "if the currently

existing status quo itself is causing one of the parties irreparable injury, it is


necessary to alter the situation so as to prevent the injury, either by returning to the


last uncontested status quo between the parties, by the issuance of a mandatory


injunction, or by allowing the parties to take proposed action that the court finds will


minimize the irreparable injury." Canal Auth, ofFla. v. Callaway, 489 F.2d 567, 576


(5th Cir. 1974). "The focus always must be on prevention of injury by a proper order,


not merely on preservation of the status quo/' Id.


      As discussed below, there are compelling reasons to alter the status quo, which


is causing ongoing, irreparable injury to Plaintiff and other qualified disabled

students who are not able to afford paying thousands of dollars for outside medical


evaluation in order to meet LSU s documentation requirement.




                                          Page 8 of 18
      Case 3:19-cv-00114-BAJ-RLB            Document 32       10/10/19 Page 9 of 18




        A. Section 504 of the Rehabilitation Act.

       Section 504 of the Rehabilitation Act prohibits "any program or activity

receiving Federal financial assistance" from discriminating against disabled


individuals. 29 U.S.C. § 794(a); 2 see also D.A., 629 F.3d at 453 ("[Section] 504 ...


broadly prohibits] discrimination against disabled persons in federally assisted

programs or activities/),


        To state a claim for relief under Section 504, a plaintiff must allege that she


or he was: (1) an "individual with a disability"; (2) "otherwise qualified for the

program; and (3) excluded, from, denied the benefits of, or otherwise subjected to


discrimination under the program "solely by reason other or his disability." 29 U.S.C.


§ 794(a).

       Plaintiff has stated a claim for relief under Section 504 (Doc. 1 and Doc. 26)

clearly showing that Defendants violated Section 504 by denying him reasonable

accommodations11, modifications of policy, and retaliated against him when he filed


a complaint with OCR. Defendants here do not dispute that LSU has waived

immunity from suit under Section 504 by accepting federal funding. See 42 U.S.C. §




       11 A failure to provide a reasonable accommodation is just one of several theories that
can support a claim of disability discrimination under the Rehabilitation Act. Prewitt v. U.S.
Postal Serv., 662 F.2d 292, 305 & n. 19 (5th Cir. 1981 Unit A); Nunes v. Mass. Dep't of
Correction, 766 F.3d 136, 144-45 & n.7 (1st Cir. 2014). On a motion to dismiss, a court "must
examine the complaint to determine if the allegations provide for relief on any possible
theory." Boss v. S. Cent. Bell Tel. Co., 834 F.2d 421, 424 (5th Cir. 1987) (emphasis added)
(citations and internal quotation marks omitted); see also Johnson v. City ofShelby, 135 S.
Ct. 346, 346 (2014); Homoki v. Conversion Servs., Inc., 717 F.3d 388, 402 (5th Cir. 2013) ("So
long as a pleading alleges facts upon which relief can be granted, it states a claim even if it
fails to categorize correctly the legal theory giving rise to the claim.


                                              Page 9 of 18
    Case 3:19-cv-00114-BAJ-RLB         Document 32        10/10/19 Page 10 of 18




2000d-7; Miller v. Tex. Tech Univ. Health Scis. Ctr, 421 F.3d 342 (5th Cir. 2005) (en

banc); Pace v. Bogalusa City Sch. Bd, 403 F.3d 272 (5th Cir. 2005).



       B. Title II of the Americans with Disabilities Act.

      The Defendants are ultimately responsible for ensuring that all students with

disabilities receive the full protections and services guaranteed by federal law.


Defendants have violated Title II of the ADA, which provides that no quaMfied

individual with a disability shall, by reason of such disability, be excluded- from

participation in or be denied the benefits of the services, programs, or activities of a


public entity, or be subjected to discrimination by any such entity." 42 U.S.C. § 12132.


      LSU's motion for dismissal due to a lack of subject-matter jurisdiction based


on Rule 12(b) (1) will fail because Title II vaUdly abrogates LSU's Eleventh

Amendment immunity. Congress may abrogate state sovereign immunity if it (1)


"makes its intention to abrogate unmistakably clear in the language of the statute


and (2) "acts pursuant to a valid exercise of its power under § 5 of the Fourteenth


Amendment." Nev. Dep't of Human Res. v. Hibbs, 538 U.S. 721, 726 (2003). The ADA


contains a clear expression of Congresss intent to abrogate state immunity.


Tennessee v. Lane, 541 U.S. 509, 518 (2004) (citing 42 U.S.C. § 12202).


To determine whether Title II of the ADA is a valid exercise of Congress s authority


under § 5 of the Fourteenth Amendment, courts apply the three-part inquiry set forth


by the Supreme Court in United States v. Georgia, 546 U.S. 151 (2006); see also Hale

v. King, 642 F.3d 492, 497-98 (5th Cir. 2011) (per curium).




                                          Page 10 of 18
     Case 3:19-cv-00114-BAJ-RLB           Document 32       10/10/19 Page 11 of 18




       First, a court must determine "which aspects of the [s]tate's alleged conduct


violated Title II." Georgia, 546 U.S. at 159. Here, the Plaintiffs ADA claim is based

upon the same conduct underlying his Section 504 claim—i.e., denial of reasonable


accommodations and violation of the Equal Protection Clause of the Fourteenth


Amendment. The only material difference between Title II and Section 504 is that

Title II contains a less demanding causation standard. See Bennett-Nelson v. La. Bd.


of Regents, 431 F.3d 448, 454 (5th Cir. 2005). Because Plaintiff in his complaints

stated a claim under Section 504, he respectfully requests this Honorable Court to


conclude, for the purpose of Georgia s abrogation analysis, that the same conduct that


violated. Section 504 is also in violation of Title II.

       At the second part of the Georgia test, the court must determine to what


extent such misconduct also violated the Fourteenth Amendment. 546 U.S. at 159.


"If the [sjtate's conduct violated both Title II and the Fourteenth Amendment, Title

II validly abrogates state sovereign immunity." Hale, 642 F.3d at 498. Plaintiff


requests this Honorable Court to conclude the Georgia s abrogation analysis here (the


second part) because Plaintiff in his complaints (Doc. 1 and Doc. 26) alleged that

LSU's conduct violated the Eaual Protection Clause of the Fourteenth Amendment.


I. Plaintiff is Likely to Succeed on the Merits

       In the Fifth Circuit, when analyzing the degree of success on the merits, courts


"employ Q a sliding scale involving the balancing [of] the hardships associated with

the issuance or denial of a preliminary injunction with the degree of likelihood of




                                            Page 11 of 18
    Case 3:19-cv-00114-BAJ-RLB          Document 32        10/10/19 Page 12 of 18




success on the merits." McWaters v. Fed. Emergency Mgmt. Agency, 408 K Supp. 2d


221, 228 (E.D. La. 2005).

      Although a plaintiff seeking an injunction bears the burden of showing

probability of success,




              [plaintiff] is not required to prove to a moral certainty that his
             is the only correct position. The prerequisite, as an absolute,
             is more negative than positive: one cannot obtain a
             preliminary injunction if he clearly will not prevail on the
             merits; however, that he is unable, in an abbreviated
             proceeding, to prove with certainty eventual success does not
             foreclose the possibility that temporary restraint may be
             appropriate. Texas v. Seatrain Int'l, S.A., 518 F.2d 175, 180
             (5th Cir. 1975) (emphasis added).




       Hence, the Court of Appeals has recognized that (<[i]n a preliminary injunction


context, the movant need not prove his case/' Lakedreams v. Taylor, 932 F.2d 1103,


1109 n. 11 (5th Cir. 1991). "A reasonable probability of success, not an overwhelming


likelihood, is all that need be shown for preliminary injunctive relief. Casarez v. Val


Verde Cnty, 957 F. Supp. 847, 858 (W.D. Tex. 1997). <{[W]hen the other factors weigh


in favor of an injunction, a showing of some likelihood of success on the merits will


justify- temporary injunctive relief." McWaters, 408 F. Supp. 2d at 228.


       Here, Plaintiff is likely to succeed on his claims because he will demonstrate


that the Defendants have deprived him of his rights in violation of the Equal

Protection Clause, Section 504, and Title II.




                                           Page 12 of 18
    Case 3:19-cv-00114-BAJ-RLB          Document 32       10/10/19 Page 13 of 18




II. Plaintiffs Will Suffer Irreparable Harm in the Absence of a
      Preliminary Injunction

      Plaintiff suffers irreparable harm because of Defendants' Action - deprivation


of a constitutional right "for even minimal periods of time, unquestionably constitutes


irreparable harm." Eh-od v. Burns, 427 U.S. 347, 373 (1976); see also Awad, 670 F.3d


at 1131 ("Furthermore, when an alleged constitutional right is involved, most courts


hold that no further showing of irreparable injury is necessary/) (citation omitted);

Bonnell v. Lorenzo, 241 F.3d 800, 809 (6th Cir. 2001) C[W]hen reviewing a motion for

preliminary injunction, if it is found that a constitutional right is being threatened or

impaired, a finding of irreparable injury is mandated."); Quinly v. City of Prairie

Village, 446 F.Supp.2d 1233, 1237-38 (D. Kan. 2006) (same). Plaintiff respectfully

asks this Honorable Court to consider that Defendants' violation of the Equal


Protection Clause constitutes irreparable harm and conclude that no further showing


of irreparable injury is necessary.


III. The Remedial Steps Sought by Plaintiff Will Begin Addressing This
      Harm

      Section 504 and Title II directs the Court to "grant such relief as [it] determines

is appropriate" to remedy violations of the statute. See 20 U.S.C. § 1415(e). The


Supreme Court has explained that "[t]he ordinary meaning of the language . . .


confers broad discretion on the [district] court. . . [T]he only possible interpretation


is that the relief is to be 'appropriate' in light of the purpose of the Act." Sch. Comm.


of Burlington v. Mass. Dep?t ofEduc, 471 U.S. 359, 369 (1985).




                                          Page 13 of 18
    Case 3:19-cv-00114-BAJ-RLB          Document 32      10/10/19 Page 14 of 18




 A mandatory injunction directing school officials to provide educational services


meeting these needs [of students with disabilities] would obviously constitute

appropriate1 relief." Hall v. Knott Cnty. Bd. ofEduc., 941 F.2d 402, 406 (6th Cir.


1991). The Court may grant similar types of relief for violations of Section 504 and

Title II. See, e.g., 42 U.S.C. § 12133 (remedies under Title VII available); United

States v. Criminal Sheriff, Parish of Orleans, 19 F.3d 238, 239-40 (5th Cir. 1994)

(broad discretion to fashion remedies as the equities of a particular case compel).


IV. Balance of Hardship Weighs in Plaintiffs^ Favor

      The balance of hardships in this case tips overwhelmingly in favor of Plaintiff.

In the absence of an injunction, Plaintiffs will suffer a daily worsening of the

irreparable harm of his constitutional right and federal statues on the basis of his


national-origin, race and disability. See Morel v. GiuMani, 927 F. Supp. 622, 639


(S.D.N.Y. 1995) ("Injunctive relief is therefore warranted to prevent a worsening of


the harms demonstrated by Plaintiff). Providing statutorily granted special services

to a [student] does not harm [defendant]; doing so is its function under state and


federal law." John T. ex rel. Paul T. v. Pennsylvania, No. 98-CV-5781, 2000 WL


558582, at *8 (E.D. Pa. May 8, 2000).


      In sum, any possible harm that the Defendants may suffer from complying


with federal law does not outweigh the overwhelmingly negative impact their lack of


compliance has on Plaintiff and other qualified students with disabilities.




                                         Page 14 of 18
     Case 3:19-cv-00114-BAJ-RLB        Document 32       10/10/19 Page 15 of 18




V. The Public Interest Favors Preliminary Injunctive Relief

      Plaintiffs seek a preliminary injunction to require the Defendants to comply

with federal law and to respect the constitutional rights of their citizens. [T]he

public interest always is served when public officials act within the bounds of the law

and respect the rights of the citizens they serve." Nobby Lobby, Inc. v. City ofDall.,


970 F.2d 82, 93 (5th Cir. 1992) (quoting case below, 767 F. Supp. 801, 821 (N.D. Tex.

1991)). There is no more clear expression of the public interest than constitutional


and statutory language of the Fourteenth Amendment, Section 504, and Title II,and


no better way to effectuate that interest than by directing the Defendants to respect


their citizens constitutional rights and federal laws it is in the public interest to


provide benefits to those entitled to them under the law. See John T. ex reL Paul T.


v. Pennsylvania, No. 98-CV-5781, 2000 WL 558582, at *8 (E.D. Pa. May 8, 2000).


Accordingly, the public interest favors granting a preliminary injunction.


                 The Court Should Order Expedited Discovery

      This Court has the authority, pursuant to Rule 34 of the Federal Rules of Civil

Procedure, to direct the parties to engage in expedited discovery in connection with


Plaintiffs' preliminary injunction motion. See Providence Prop. & Gas. Ins. Co. v.


PeapLease Corp, No. 06-CV-285, 2007 WL 2241492 (E.D. Tex. Aug. 03, 2007)


(granting plaintiffs and counter-defendant's applications for preliminary injunction


and motion to compel expedited discovery); Wright MedTech., Inc. v. Somers, 37 F.


Supp. 2d 673, 679 (D.N.J. 1999) (parties conducted expedited discovery before the

hearing on plaintiffs' application for a preliminary injunction barring plaintiffs



                                         Page 15 of 18
    Case 3:19-cv-00114-BAJ-RLB         Document 32       10/10/19 Page 16 of 18




former employee from working for a competitor). "Expedited discovery is particularly


appropriate when a plaintiff seeks injunctive relief because of the expedited nature


ofinjunctive proceedings. EllsworthAssoc., Inc. v. United States, 917 F. Supp. 841,


844 (D.D.C. 1996). Accelerated discovery is appropriate where [fjurther


development of the record before the preliminary injunction hearing will better


enable the court to judge the parties' interests and respective chances for success on


the merits." Educata Corp. v. Scientific Computers, Inc., 599 F. Supp.1084, 1088(D.


Minn.), affd in part, rev'd in part on other grounds, 746 F.2d 429 (8th dr. 1984).




      Plaintiff seeks an evidentiaiy hearing on his motion at which he will present

fact and documents in support of the preliminary relief sought herein. Plaintiff seeks


limited discovery of critical documents in the possession of the Defendants and


testimony of employees of the Defendants, which will demonstrate the violations


alleged by Plaintiff, and the need for immediate remedial relief to address the ongoing

irreparable harm, such as violation of the Equal Protection Clause of the Fourteenth


Amendment and federal laws.


      Plaintiff is prepared to work with the Defendants to arrive at an acceptable


schedule for discovery and a hearing on Plaintiffs preliminary injunction motion.




                                         Page 16 of 18
      Case 3:19-cv-00114-BAJ-RLB                 Document 32       10/10/19 Page 17 of 18




                                           CONCLUSION

        For all of the foregoing reasons, this Honorable Court should enter a


preliminary injunction in the form of the Proposed Order attached hereto.




                                                                         Respectfully Submitted,

                                                            Dated this 10th day of October^019.



        I hereby certify under penalty of perjury that the^bove petition is trup.to the
best of my information, knowledge, and belief.



                                                                   Esrom Demeke, pro se litigant


                                                                         5959 Burbank Dr. 1624
                                                                         Baton Rouge, LA 70820
                                                                          Phone: (571) 306-9137
                                                                        Email: edemekl@lsu.edu



 CERTIFICATE OF SERVICE
i Esrom Demeke do hereby
certify that on October 10,
2019 a copy of the forgoing
Motion was filed manually with
the Clerk of Court. Defendants'
counsel will be served through
the CM/ECF system at the
following email address
Sheri M. Morris - Email: SMorris@DaigleFisse.com
D. Stephen^rouillette - Email: CPeck@DaieleFisse.com
Christina &i/peck - Email: SBrqi^!illette@DaigleFisse.com


            j/^>^^^

        Esrom Demeke




                                                   Page 17 of 18
      Case 3:19-cv-00114-BAJ-RLB          Document 32          10/10/19 Page 18 of 18




                UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF LOUISIANA




                                                                     Case Number:
ESROM DEMEKE,                                                        19-114-BAJ-RLB


        Plaintiff,                                                   Judge
                                                                     Brian A. Jackson

           V.
                                                                     JVIag. Judge
                                                                     Richard L. Bourgeois, J-R.
BOARD OF SUPERVISORS OF LOUISIANA
STATE UNIVERSITY, andA&M COLLEGE, ET                                 Evidentiary Hearing Reauested
AL.


        Defendants.




                DECLARATION OF PLANTIFF ESROM DEMEKE

       Pursuant to 28 U.S.C.§ 1746, I hereby declare as follows:

  1. I am the Plaintiff in the above captioned lawsuit case number: 19-114-BAJ-


       RLB

  2. Exhibit A pages 1 to 7 and Exhibit B pages 1 to 11 are the true and correct

       documents.


       I declare under penalty of perjury, that the foregoing is true and^correct


                                                            ^^M^^A^JLA-^-^
                                                            Esrom Demeke


                                                            October 10, 2019




                                            Page 18 of 18
